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                                                                October 13, 2008

 Hon. Steven M. Gold
 United States Magistrate Judge
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201
        VIA ECF

                Re: Gortat et al. v. Capala Brothers, Inc.. et al.
                    EDNY Docket No.: 07 cv 3629

 Dear Judge Gold,

       I represent Plaintiffs in the above-captioned matter. I am writing to respond to
 Defendants’ reply declaration, submitted today.

         Plaintiffs wish to place on the record that, pursuant to conversations with Your Honor’s
 chambers, the upcoming scheduled October 16, 2008 conference will only deal with discovery
 issues, as Your Honor does not expect the other issues raised in Defendants’ motion to be fully
 briefed by the date of that conference.

        Insofar as the upcoming conference will deal with any other issues contained in
 Defendants’ counsel’s brief, Plaintiffs respectfully request that they be given adequate time to
 oppose Defendants’ counsel’s motion, for which a memorandum of law was first filed today.

        Thank you for your attention to the above.

                                                                Respectfully submitted,

                                                                _________/s/______________
                                                                Robert Wisniewski (RW-5308)
 cc: Felipe Orner Esq., Counsel for Defendants
